ILND 450 (Rev.Case:   1:14-cv-07225
              10/13) Judgment in a Civil ActionDocument #: 258 Filed: 10/01/19 Page 1 of 2 PageID #:7149


                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE
                                   NORTHERN DISTRICT OF ILLINOIS

ROBERT BARLETT and PATRICK LEYDEN
, individually and on behalf of other similarly
situated SWAT team members of the Chicago
Police Department,                                         Case No. 14 C 7225
                                                           Judge Charles P. Kocoras
Plaintiff(s),

v.

CITY OF CHICAGO,

Defendant(s).

                                         JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                in favor of plaintiff(s)
                and against defendant(s)
                in the amount of $       ,

                        which       includes       pre–judgment interest.
                                    does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                in favor of defendant(s)
                and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


                other: Judgment entered in favor of Defendant City of Chicago and against Plaintiffs Robert
Bartlett, Patrick Leyden and other similarly situated SWAT team members.

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge Charles P. Kocoras on a motion summary judgment.



Date: 10/1/2019                                        Thomas G. Bruton, Clerk of Court
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                                              Vettina Franklin, Deputy Clerk
